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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SAMSUNG ELECTRONICS AMERICA, §
INC.,                        §
                             §
          Plaintiff,         §
                             §
V.                           §
                             §
YANG KUN “MICHAEL” CHUNG,    §                      Civil Action No. 3:15-cv-04108-D
THOMAS PORCARELLO,           §
YOON-CHUL “ALEX” JANG,       §
JIN-YOUNG SONG,              §
ALL PRO DISTRIBUTING, INC.,  §
                             §
          Defendants.        §


    DEFENDANT ALL PRO DISTRIBUTING, INC.’S REPLY BRIEF IN SUPPORT
     OF ITS COMBINED MOTION FOR LEAVE TO FILE ITS FIRST AMENDED
    COUNTERCLAIM TO PLAINTIFF’S SECOND AMENDED COMPLAINT AND
  FILE THIRD PARTY COMPLAINT AGAINST CVE TECHNOLOGY GROUP, INC.


        Defendant All Pro Distributing, Inc. (“All Pro”) submits this Reply Brief in Support of Its

Combined Motion for Leave to File Its First Amended Counterclaim to Plaintiff’s Second

Amended Complaint and File Third Party Complaint Against CVE Technology Group, Inc.

(“Combined Motion”), and respectfully shows the Court the following:

                                           I.
                                      INTRODUCTION

        Without any support for its contentions, Plaintiff Samsung claims that All Pro’s

Combined Motion should be denied because: (1) Samsung’s original complaint was filed more

than one year ago; (2) Samsung believes All Pro did not spend enough time in its original motion

[Dkt. 120] discussing the reasons for its Combined Motion; and (3) Samsung takes issue with the

manner in which the new proposed counterclaims have been pleaded. However, Samsung’s


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opposition ignores several key facts. As discussed more fully below, All Pro’s Combined Motion

is clearly supported by the facts and law.

                                       II.
                            ARGUMENTS AND AUTHORITIES

          A.     WHETHER TO GRANT LEAVE TO AMEND IS IN THE COURT’S DISCRETION:

          It is settled that the grant of leave to amend the pleadings pursuant to Rule 15(a) is within

the discretion of the trial court.” Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321,

330, 91 S.Ct. 795, 28 L.Ed.2d 77 (1971). However, “The court should freely grant leave when

justice so requires.” Connect Insured Telecom, Inc. v. Qwest Long Distance, Inc., No. 3:10-CV-

1897-D, 2011 WL 445000, at *1 (N.D. Tex. Feb. 8, 2011) (Fitzwater, J.) (citing FED. R. CIV. P.

15(a)).

          B.     ALL PRO’S COMBINED MOTION FOR LEAVE IS TIMELY:

          When a party files a motion for leave to amend by the court-ordered deadline, as All Pro

has, there is a “presumption of timeliness.” Connect Insured Telecom, Inc., 2011 WL 445000, at

*1 (citing Poly–Am., Inc. v. Serrot Int’l Inc., 2002 WL 206454, at *1 (N.D. Tex. Feb.7, 2002)

(Fitzwater, J.)). If there is any perceived delay, “A party's delay in asserting a claim is grounds

for denying leave to amend only if the delay is unreasonable.” Ericsson Inc. v. Harris Corp., No.

CIVA3:98CV2903D, 1999 WL 604827, at *2 (N.D. Tex. Aug. 11, 1999) (citing Wimm v. Jack

Eckerd Corp., 3 F.3d 137, 139–40 (5th Cir. 1993)). However, a delay only rises to the level of

unreasonableness if, inter alia, the party failed to assert the claim for an extended amount of time

after learning of facts supporting the claim. See In re Southmark Corp., 88 F.3d 311, 316 (5th

Cir. 1996).

          Here, the deadline to file motions for leave to amend is June 14, 2017. [Dkt. 115].

Therefore, the motion is timely. Moreover, All Pro did not learn of certain facts supporting its


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proposed counterclaims until March 2017. Accordingly, All Pro did not unreasonably delay the

filing of its Combined Motion.

                1.       The Parties Filed Agreed Motions To Extend The Deadline To Amend:

        All Pro’s Combined Motion is timely. As noted above, the deadline to amend pleadings

and/or join additional parties is June 14, 2017. Not only is Samsung aware of this deadline, it

requested it. In fact, Samsung has either requested or agreed to requests to amend the parties’

deadlines on several occasions:

         On March 7, 2016, the parties filed a Joint Scheduling Order [Dkt. 29] which listed
          September 29, 2016, as the deadline to amend pleadings and/or join other parties. The
          Court granted the parties’ motion and entered a Scheduling Order [Dkt. 31] which
          listed September 29, 2016 as the deadline to amend pleadings or join other parties;

         Several months later, on September 23, 2016, Samsung filed a Motion to Extend
          Deadline for All Parties to File Motions for Leave to Amend Pleadings or Joinder of
          Parties. [Dkt. 68]. Specifically, Samsung sought to extend the deadline from
          September 29, 2016 to November 18, 2016. Id. All Pro was opposed. Id. However, on
          October 19, 2016, the Court granted Samsung’s motion, extending the deadline to
          amend or join parties as requested. [Dkt. 71].

         On November 16, 2016, All Pro filed a Motion to Extend Deadline for All Parties to
          File Motions for Leave to Amend Pleadings or Joinder of Parties [Dkt. 76], which
          sought to extend the parties’ deadline to December 19, 2016, because All Pro’s
          Motion to Dismiss Plaintiff’s First Amended Complaint was pending and the parties
          were in the midst of discovery. Samsung was unopposed.

         As of December 28, 2016, the Court had not ruled on All Pro’s Motion to Extend
          [Dkt. 76], so All Pro and Samsung filed a Joint Motion to Extend Deadline for All
          Parties to File Motions for Leave to Amend Pleadings or Joinder of Parties [Dkt. 80].
          The motion sought to extend the deadline to file motions for leave to amend pleadings
          or joinder of parties until at least 30 days after the Court ruled on All Pro’s motion
          to dismiss. Id. The next day, on December 29, 2016, the Court granted the parties’
          motion. [Dkt. 81].

         More recently, on March 16, 2017, the parties filed an Agreed Motion to Enter
          Amended Scheduling Order [Dkt. 114]. Because the Court ruled on All Pro’s motion
          to dismiss on February 16, 2017, by operation of the previous order [Dkt. 81], the
          parties’ deadline to file a motion for leave to amend or join other parties was set for
          the very same day, March 16, 2017. See id. However, the parties requested that both
          deadlines be extended to June 14, 2017. Id. As indicated in the motion’s Certificate of


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             Conference, the motion was initiated by Samsung. Id. The Court granted the parties’
             motion and extended the deadline to June 14, 2017. [Dkt. 115].

         For Samsung to now claim that All Pro’s timely motion for leave to amend was filed in

bad faith is both meritless and directly contrary to the facts. Moreover, as discussed below, All

Pro did not learn of the facts underlying the proposed counterclaims until recently.

                 2.       Samsung Did Not Provide Certain Information Regarding CVE Until
                          February 2017:

        Plaintiff’s complaints have been so poorly pled that Defendant All Pro has filed two

separate motions to dismiss under Rule 12(b)(6). [Dkts. 25 and 57]. Moreover, because of the

deficiencies in Plaintiff’s complaints, All Pro did not know the alleged bases for Plaintiff’s

claims against it for nearly one year. For example, Plaintiff previously alleged “All Pro, Chung,

Porcarello, and a third party engaged in a brazen scheme to (1) wrongfully acquire Samsung

parts; (2) assemble the parts into counterfeit phones; and (3) sell them in the market.” [Dkt. 47 at

¶ 34]. While Samsung identified CVE by name in May 2016 (see Exhibit A), it did not provide

substantive information about CVE and/or its relationship with Samsung at that time.

        All Pro first served Samsung with interrogatories requesting information about the

alleged “third parties” on April 4, 2016. (See Exhibit B, attached hereto). While Samsung served

objections and responses on May 5, 2016, the responses were lacking any detail. 1 Samsung later


1
 In its Objections and Answers to Defendant All Pro Distributing, Inc.’s First Set of Interrogatories, Samsung did
not provide complete answers to interrogatories requesting information about third parties. For example:




See Exhibit A.

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amended its responses, but the answers were still incomplete; and, on February 2, 2017, All Pro

filed its Second Motion to Compel Plaintiff to Withdraw Improper Objections and Respond Fully

to Written Discovery and Brief in Support [Dkts. 85 and 86]. All Pro’s Second Motion to Compel

specifically challenged Samsung’s responses to certain interrogatories, including Interrogatory

Nos. 6 and 7, which sought information about the alleged third parties.

        On March 7, 2017, the Court ordered Samsung to amend or supplement its answers to the

interrogatories at issue by March 17, 2017. [Dkt. 107 at p. 47]. Thus, All Pro finally received

additional information about Samsung’s allegations relating to CVE in Samsung’s Third

Amended Objections and Answers to Interrogatory Nos. 1, 2, 6, 7, and 9 of Defendant All Pro

Distributing, Inc.’s First Set of Interrogatories (Exhibit C):

            INTERROGATORY NO. 6

            Identify the third parties who you contend constructed or assembled the
            counterfeit devices that Samsung alleges All Pro obtained, including in your
            response, the contact information for the assembler, the location of assembly,
            the dates of the assembly, the names of the items that were assembled, the
            number of items assembled, and whether the assembler was a Samsung
            authorized service center or Samsung authorized repair facility.

            ANSWER (in relevant part):

            Samsung notes that discovery is ongoing, and that Samsung has yet to obtain
            any deposition testimony.

            The third parties that Samsung contends constructed or assembled the
            counterfeit devices are listed below:

            CVE Technology Group, Inc. (“CVE”), 3000 E. Plano Parkway, Plano, Texas
            75074 (972) 424-6606.

            CVE was an authorized repair facility in connection with certain Samsung
            products. CVE build kits were sent to the facility located at 3000 E. Plano
            Parkway, Plano, Texas 75074, attention Jin Kang.




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              INTERROGATORY NO. 7

              Identify the individuals or companies who allegedly sold the counterfeit
              devices to All Pro, including in your response, the contact information for the
              seller, the dates of the sales, the names of the devices sold, and the number of
              devices sold.

              ANSWER (in relevant part):

              Samsung notes that discovery is ongoing, and that Samsung has yet to obtain
              any deposition testimony.

              Upon information and belief, Samsung lists the following entity that sold the
              counterfeit devices:

              CVE Technology Group, Inc. (“CVE”), 3000 E. Plano Parkway, Plano, Texas
              75074 (972-424-6606).

        Id.

        As stated in All Pro’s Combined Motion for Leave and the proposed counterclaims, the

new causes of action that All Pro seeks to file against Plaintiff are inextricably tied to Samsung’s

recent identification of CVE as an alleged offending third party. [See, e.g., Dkt. 120 at ¶ 14 and

Dkt. 120-2 at ¶¶ 28-29]. Now that All Pro knows Plaintiff’s allegations stem from purchases All

Pro made from CVE — at Samsung’s instruction — Samsung’s representations about Samsung’s

relationship with CVE and CVE’s status as an authorized repair facility are material. [See

generally, Dkt. 120-2 at ¶¶ 27-50].

        C.       ALL PRO’S FRAUD CLAIMS AGAINST SAMSUNG HAVE BEEN PROPERLY PLED:

        All Pro seeks to add three counterclaims against Samsung: fraudulent misrepresentation,

fraudulent nondisclosure and negligent misrepresentation. [See generally, Dkt. 120-2 at ¶¶ 27-

50]. Samsung claims that All Pro’s proposed counterclaims are not properly pled. However, Rule

9(b) only requires a plaintiff to allege the existence of facts sufficient to warrant the pleaded

conclusion that fraud has occurred. TXI Operations, LP v. Pittsburgy & Midway Coal Mining

Co., No. CIV.3:04-CV-1146-H, 2004 WL 2088867, at *1 (N.D. Tex. Sept. 8, 2004) (citing See

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Haber Oil Co. v. Swinehart, 12 F.3d 426, 439 (5th Cir. 1994)). Furthermore, All Pro’s proposed

pleading satisfies the requirements of courts in this Circuit because the proposed counterclaims

clearly place Samsung on notice regarding the nature and grounds of All Pro’s fraud and

negligent misrepresentation claims against Samsung. See Hernandez v. U.S. Bank, N.A., No.

3:13-CV-2164-O, 2014 WL 3545761, at *9 (N.D. Tex. July 17, 2014) (finding pleading

sufficient because defendant was given sufficient notice of plaintiff’s fraud claims even where

the levels of specificity differed within plaintiffs' allegations) (citing Fankhauser v. Fannie Mae,

No. 4:10–cv–274, 2011WL 1630193, at*6 (E.D. Tex. Mar. 30, 2011). Furthermore, the Fifth

Circuit has also stated that the “time, place, contents, and identity standard is not a straitjacket

for Rule 9(b),” concluding that Rule 9(b) is context-specific and flexible. See Simms v. Jones,

No. 3:11-CV-0248-M, 2011 WL 5978594, at *3 (N.D. Tex. Nov. 30, 2011) (citing U.S. ex rel.

Grubbs v. Kanneganti, 565 F.3d 180, 188 (5th Cir. 2009)) (“However, we have acknowledged

that “Rule 9(b)'s ultimate meaning is context-specific,” 2 and thus there is no single construction

of Rule 9(b) that applies in all contexts. Depending on the claim, a plaintiff may sufficiently

‘state with particularity the circumstances constituting fraud or mistake’ without including all the

details of any single court-articulated standard—it depends on the elements of the claim at

hand.”)

          As pled in All Pro’s proposed First Amended Counterclaim, the “who, what, when and

where” of Samsung’s fraudulent statements and misrepresentations are clear. For example:

           In or about February 2009, All Pro met with Lynn Bond, Vice President/GM of
            Samsung’s Service and Operations Divisions, at the Reverse Logistics Association
            tradeshow. Mr. Bond informed All Pro that Samsung was looking for a company to
            purchase its excess and obsolete inventory instead of paying third party companies to
            scrap and dispose of the inventory. [Dkt. 120-2 at ¶ 6].


2
    Williams v. WMX Techs., Inc., 112 F.3d 175, 178 (5th Cir.1997).


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         Upon information and belief, in or about mid-2010, Samsung’s Service Division had
          the same problem of excess and obsolete inventory the Accessory Division experienced
          and needed an outlet to dispose of the same. As a result of All Pro’s exceptional purchase
          and sale record, and its stellar reputation at Samsung, All Pro developed a relationship
          with the Service Division. Id. at ¶ 11.

         While All Pro was successful at selling Samsung’s various obsolete and/or excess
          products, it also purchased then-current Samsung products. Samsung, however,
          manipulated the relationship with All Pro demanding on multiple occasions that
          because All Pro was successful at acquiring and disposing of unwanted products, it
          would need to purchase and timely receive even more unwanted products if All Pro
          wanted to have the ability to purchase “regular” products. These demands were
          primarily made by upper level management at Samsung. . . Id. at ¶ 12.

         Approximately 8 months after All Pro started working with the Service Division,
          Samsung introduced the OCTA (the touch screen part of devices) for the Samsung i500
          Galaxy S. As an authorized and valued distributor of Samsung products, All Pro was
          offered to purchase OCTAs, and purchased and sold many OCTAs, before any of the
          Employee Defendants were hired by Samsung. . . All Pro is further informed and
          believes, and based thereon alleges, that the Service Division management requested
          that All Pro contact small repair stores and kiosks in the U.S. and arrange to supply
          OCTAs to them to stop the usage of counterfeit OCTAs. . . Id. at ¶ 17.

         Notably, beginning in early 2011, and continuing through the following years, Samsung
          sold All Pro and other authorized distributors hundreds of thousands of OCTAs at
          regular, discounted and bundle pricing, as well as through the excess and auction
          program. Each of these purchase and sale transactions proceeded through the same
          Samsung Approval Process, with all transactions being approved by management in
          the Business Control and Finance Department through the SAP. All Pro is informed
          and believes, and based thereon alleges, that Samsung sold OCTAs to third parties, like
          All Pro, during this time and that Samsung continues to sell OCTAs to other distributors
          to this day. Id. at ¶ 18.

         All Pro is informed and believes, and based thereon alleges, that CVE operates the
          largest authorized Samsung Private Service Center in the United States with
          approximately 800 individuals and providing warranty repairs for Samsung and its
          devices sold by T-Mobile and AT&T, and that CVE possessed all of the equipment and
          technology needed to assemble mobile devices according to Samsung’s allegedly
          rigorous conditions and specifications as trained and instructed by Samsung with a
          Samsung supervisor/engineer present at all times, such that the mobile devices they
          assembled are genuine Samsung products and are not counterfeit. Id. at ¶ 24.

         . . . To the contrary, Samsung represented to All Pro that the mobile devices sold to
          All Pro were assembled by CVE and/or TDI using original parts provided by
          Samsung. . . All Pro did not have any reason to know or to suspect that the mobile
          devices assembled by CVE, that it purchased from Samsung and CVE, were allegedly
          counterfeit, nor did Samsung ever inform All Pro that those Samsung mobile devices or
          products were counterfeit. To the contrary, All Pro is informed and believes, and based


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             thereon alleges, that all Samsung products that it purchased from Samsung and CVE are
             authentic Samsung products. Id. at ¶ 26.

        If, however, the Court would require All Pro to plead its fraud and negligent

misrepresentation claims against Samsung with more particularity, All Pro requests the opportunity

to amend the proposed counterclaims.

        D.      SAMSUNG DOES NOT OBJECT TO ALL PRO’S PROPOSED THIRD-PARTY
                COMPLAINT AGAINST CVE:

        In its Response to All Pro’s Combined Motion for Leave to File [Dkt. 131], Samsung

states, “Plaintiff does not oppose All Pro’s Request to file a Third-Party Complaint Against CVE

Technology Group, Inc.” [Dkt. 131 at p. 1 n.1]. Samsung goes on to say, however, that it is

opposed All Pro’s Third-Party Complaint against CVE “to the extent it includes harassing and

irrelevant allegations such as those set forth in Paragraph 15.” Id. Samsung fails to cite any basis

for its contention All Pro’s allegations are “harassing and irrelevant.” Accordingly, the Court

should deny Samsung’s request to strike facts that it does not like.

        Paragraph 15 of All Pro’s Proposed Third-Party Complaint against CVE states:

        15. By way of the Original Complaint and the most recently filed Second
        Amended Complaint [Dkt. 117] (“Second Amended Complaint”), Samsung
        perplexingly asserts various misleading and outright false allegations in a
        desperate (but transparent) attempt to cast blame on others, including All Pro, for
        Samsung’s internal problems, which include its internationally infamous
        corruption scandal resulting in the imprisonment of Samsung personnel, its
        exploding phones, and its defective washing machines that have been recalled,
        among other things. In short, the salacious allegations against All Pro reflect that
        Samsung is completely unaware of its operations, internal policies and
        procedures, the conduct of its employees and officers, and the operations of its
        third-party private service centers.

        The information contained in paragraph 15 is based widely-covered news stories about

Samsung, even if Samsung would prefer to ignore it. Moreover, as indicated in All Pro’s

Amended Answer and proposed First Amended Counterclaim [Dkt. 120-2], All Pro followed

Samsung’s order and purchase process throughout its relationship with Samsung. [Dkt. 120-2 at

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¶ 15]. During that relationship, Samsung directed All Pro to make purchases from CVE. Thus,

the state of Samsung’s business and the fact that Samsung nevertheless chose to file the instant

lawsuit against All Pro are both relevant to All Pro’s counterclaims against Samsung and the

Third-Party Complaint against CVE.

                                      CONCLUSION AND PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant All Pro Distributing, Inc.

respectfully requests this Court grant it leave to file its First Amended Counterclaims against

Samsung, and to file a Third Party Complaint against CVE Technology Group, Inc. All Pro also

requests such other and further relief, both at law and in equity, to which it be justly entitled.


                                                       Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

        Pursuant to the Federal Rules of Civil Procedure, I hereby certify that a true and correct
copy of the foregoing document was electrically filed on May 4, 2017. Notice of this filing will
be sent to counsel of record for all parties by operation of the Court’s electronic filing system.

                                              /s/ Barry A. Moscowitz
                                                 Barry A. Moscowitz




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